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lN THE UNITED STATES DISTRICT COURT Zg§:§ mg § 3 § ~ .
FOR THE EASTERN DISTRICT OF TEXAS w v h '

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MARSHALL DIVISION §§ § ,.. §§ “f\
UNITED STATES OF AMERICA ) 31
ex rel. JOSHUA HARMAN, ) "` " ""““‘“’"""“
)
Plaintiff, )
) Civil No. 2:lch000089
v. )
) FILED UNDER SEAL
TRINITY INDUSTRIES, lNC., )
)
Defendant. )

THE GOVERNMENT’S NO'I`ICE OF ELECTION TO
DECLINE INTERVENTION

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States
notifies the Court of its decision not to intervene in this action.

Although the United States declines to intervene, vve respectfully refer the Court to
31 U.S.C. § 3730(b)(l), vvhich allows the relator to maintain the action in the name of the
United States; providing, however, that the “action may be dismissed only if the court
and the Attorney General give Written consent to the dismissal and their reasons for
consenting.” I_d. Therefore, the United States requests that, should either the relator or
the defendant propose that this action be dismissed, settled, or otherwise discontinued,
this Court solicit the Written consent of the United States before ruling or granting its
approval.

Furthermore, pursuant to 31 U.S.C. § 373 0(c)(3), the United States requests that

all pleadings filed in this action be served upon the United States; the United States also

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requests that orders issued by the Court be sent to the Government’s counsel. The United
States reserves its right to order any deposition transcripts, to intervene in this action, for
good cause, at a later date, and to seek the dismissal of the relator’s action or claim. The
United States also requests that it be served vvith all notices of appeal.

Finally, the Government requests that the relator's Complaint, this Notice, and the
attached proposed Order be unsealed. The United States requests that all other papers on
tile in this action remain under seal because in discussing the content and extent of the
United States' investigation, such papers are provided by lavv to the Court alone for the
sole purpose of evaluating vvhether the seal and time for making an election to intervene
should be eXtended.

A proposed order accompanies this notice.

Respectfully submitted,

STUART F. DELERY
Principal Deputy Assistant Attorney General

JOHN MALCOLM BALES
United States Attomey

/s/ Kevin McClendon
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Dated: January 17, 2013

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